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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 BACKHAUL AND TRACK LOGISTICS,                     )
 INC., DOING BUSINESS AS BAT                       )
 LOGISTICS                                         )
 20 Arena Way, STE 2                               )
 Council Bluffs, Iowa 51501                        )
                                                   )
               Plaintiff,                          )
                                                   )
        v.                                         )   CASE NO.
                                                   )
 BAT LOGISTICS, LLC                                )   JUDGE:
 2500 N. 72nd Ct., Unit 2E                         )
 Elmwood Park, Illinois 60707,                     )
                                                   )   JURY TRIAL DEMANDED
               Defendant.                          )

                      L.R. 3.2 NOTIFICATION AS TO AFFILIATES

       Pursuant to Local Rule 3.2, Plaintiff, Backhaul and Track Logistics, Inc., doing business

as BAT Logistics, states that it has no parent corporations and that no publicly held company

owns 5% or more of its stock.

 Dated: September 26, 2022
                                                 Respectfully submitted,

                                                   /s/ Simeon G. Papacostas

                                                 BENESCH, FRIEDLANDER,
                                                 COPLAN & ARONOFF LLP

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